                                                  Quick Facts
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                                                             — Child Pornography Offenders —



Fiscal Year 2020                                                             Offender and Offense Characteristics2
                                                                             •     45.1% of child pornography offenders were sentenced for
    IN FY 2020, 64,565 CASES WERE REPORTED TO                                     possessing child pornography; 41.9% were sentenced for
THE U.S. SENTENCING COMMISSION.                                                    trafficking child pornography; 13.0% were sentenced for receiving
                                                                                   child pornography.
        1,023 OF THESE INVOLVED CHILD PORNOGRAPHY.1
                                                                             •     99.7% of child pornography offenders were men.
         CHILD PORNOGRAPHY OFFENSES HAVE DECREASED BY
                                                                             •     81.3% were White, 12.2% were Hispanic, 4.0 % were Black, and
        35.8% SINCE FY 2016.
                                                                                   2.5% were Other races.

                                Number of                                    •     Their average age was 42 years.
                       Child Pornography Offenders
                                                                             •     96.8% were United States citizens.
         2,000

                    1,593                                                    •     72.9% had little or no prior criminal history (Criminal History
                               1,409      1,416                                    Category I);
         1,500                                       1,368
                                                                                   ♦ 9.0% were CHC II;
                                                                                   ♦ 11.5% were CHC III;
                                                                1,023
                                                                                   ♦ 3.9% were CHC IV;
         1,000
                                                                                   ♦ 1.8% were CHC V;
                                                                                   ♦ 0.9% were CHC VI.
           500
                                                                             •     The top six districts for child pornography offenders were:
                                                                                   ♦ Western District of Missouri (42);
                                                                                   ♦ Western District of New York (33);
              0
                                                                                   ♦ Middle District of Florida (31);
                     FY         FY         FY         FY         FY
                    2016       2017       2018       2019       2020               ♦ Southern District of Texas (31);
                                                                                   ♦ Western District of Texas (30);
                                                                                   ♦ Eastern District of Virginia (30).
              Length of Mandatory Minimum Penalties for
                     Child Pornography Offenders                             Punishment
                               FY 2020
                                                                             • 99.3% of child pornography offenders were sentenced to prison;
                        15 Years                                                  their average sentence was 102 months.
                          5.2%

           Ten Years                                                         • The average sentence for offenders convicted of trafficking in child
             9.3%                                                                 pornography was 133 months3:
                                                                                   ♦ 90.5% of these offenders were convicted of an offense
                                                                                      carrying a five-year mandatory minimum penalty; their
                                                                                      average sentence was 121 months.
                                                       None                        ♦ 9.5% had a prior sexual abuse or child pornography
                                                       35.8%
                                                                                      conviction and were subject to a 15-year mandatory
                                                                                      minimum penalty; their average sentence was 250 months.

                                                                                 • The average sentence for offenders convicted of receiving child
                                                                                   pornography was 95 months:
                  Five Years                                                       ♦ 90.1% of offenders sentenced for receiving child pornography
                     49.7%                                                             were convicted of an offense carrying a five-year mandatory
                                                                                       minimum penalty; their average sentence was 83 months.
                                                                                   ♦ 9.9% had a prior sexual abuse or child pornography
                                                                                       conviction and were subject to a 15-year mandatory
                                                                                       minimum penalty; their average sentence was 202 months.
    This document was produced and published at U.S. taxpayer expense.
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Punishment (continued)
                                                                                                                       Sentence Relative to the
    •     The average sentence for offenders convicted of possessing child                                               Guideline Range (%)
          pornography was 74 months4:                                                                           Within Range                     Variance
          ♦ 79.5% of offenders were convicted of an offense not carrying a                                      Substantial Assistance           Other Downward
              mandatory minimum penalty; their average sentence was 61 months.
          ♦ 20.5% had a prior sexual abuse or child pornography conviction and                         100
              were subject to a ten-year mandatory minimum penalty; their average
              sentence was 125 months.                                                                  75

Sentences Relative to the Guideline Range
                                                                                                        50
•        39.2% of child pornography offenders were sentenced under the Guidelines
         Manual:
                                                                                                        25

         ♦   30.6% of all child pornography offenders were sentenced within the
             guideline range.                                                                            0
                                                                                                          FY                                                     FY
         ♦   5.5% of all child pornography offenders received some other downward                        2016                                                   2020
             departure.
             ◊ Their average sentence reduction was 41.6%.
                                                                                                                    Average Guideline Minimum and
         ♦   2.1% of all child pornography offenders received a substantial assistance                                    Average Sentence
             departure.                                                                                                       (months)
             ◊ Their average sentence reduction was 41.4%.                                                            Guideline Minimum                  Sentence
                                                                                                       200
•        60.8% received a variance:

         ♦   58.5% of all child pornography offenders received a downward                              150
             variance.
             ◊   Their average sentence reduction was 38.5%.
                                                                                                       100
         ♦   2.3% of all child pornography offenders received an upward variance.
             ◊   Their average sentence increase was 57.3%.
                                                                                                        50



                                                                                                         0
               Sentence Imposed Relative to the Guideline Range FY 2020                                       FY                                                  FY
                                                                                                             2016                                                2020
                                                                                                         1 Child pornography offenders are those convicted of
                                                                                                         Trafficking in Material Involving the Sexual Exploitation of a
                                                          Within Range
                                  Under                                                                  Minor; Receiving, Transporting, Shipping, or Advertising
                                                          30.6%                                          Material Involving the Sexual Exploitation of a Minor;
                                 Guidelines
                                  Manual                                                                 Possessing Material Involving the Sexual Exploitation of a
                                   39.2%                       Other Downward                            Minor with Intent to Traffic; Possessing Material Involving the
                                                                                                         Sexual Exploitation of a Minor (§2G2.2). It does not include
                                                               5.4%
                                                                                                         cases where offenders are convicted of Production of Child
                                                                                                         Pornography (§2G2.1).
                                                            Substantial Assistance
                                                                                                         2 Cases with incomplete sentencing information were
                                                            2.1%
                                                                                                         excluded from the analysis. Cases that do not meet logical
        Variances                                                                                        criteria were also excluded.
          60.8%                                            Upward Departure
                                                           1.1%                                          3 Offenders convicted of Trafficking in Material Involving the
                                                                                                         Sexual Exploitation of a Minor and Receiving, Transporting,
                                                                                                         Shipping, or Advertising Material Involving the Sexual
                                                                                                         Exploitation of a Minor are subject to a five-year mandatory
                                                                                                         minimum penalty, or 15 years with a prior conviction for
                                                                                                         sexual abuse or child pornography.

                                                                                                         4 Offenders convicted of Possessing Material Involving the

                                                                                                         Sexual Exploitation of a Minor (§2G2.2) are subject to a 10-
                                                                                                         year mandatory minimum penalty with a prior conviction for
                                                                                                         sexual abuse or child pornography.
SOURCE: United States Sentencing Commission, FY 2016 through FY 2020 Datafiles, USSCFY16-USSCFY20.
